
925 So.2d 522 (2006)
Derry LABORDE, et al.
v.
Kirby M. PECOT, et al.
Kenyawn Augustine, et al.
v.
New Horizon Kids Quest, IV. Inc., et al.
Kenyawn Augustine, et al.
v.
Kirby Pecot, et al.
Louis Blalock, et al.
v.
New Horizon Kids Quest, IV., Inc., et al.
No. 2005-CC-2254.
Supreme Court of Louisiana.
March 17, 2006.
*523 Denied in part, granted in part. There is no error in that portion of the court of appeal's ruling dismissing the Tribe's insurer(s). See La. R.S. 22:655(B). However, with respect to the defendants other than the Tribe's insurer(s), the case is remanded to the court of appeal for reconsideration of the applicable factors under La.Code Civ. P. art. 641 in light of La. Civ.Code arts. 2323 and 2324, as interpreted in Dumas v. State, 02-0563 (La.10/15/02), 828 So.2d 530.
KIMBALL, J., recused.
KNOLL, J., recused.
JOHNSON, J., would grant.
